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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §
                                    §
      Plaintiff,                    §                Case No: 6:21-cv-01043-ADA
                                    §
vs.                                 §                PATENT CASE
                                    §
THE KNOT WORLDWIDE, INC.,           §                JURY TRIAL DEMANDED
                                    §
      Defendant.                    §
___________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against The Knot Worldwide, Inc.

with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.




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Dated: November 22, 2021.                   Respectfully submitted,


                                            /s/ Jay Johnson
                                            JAY JOHNSON
                                            State Bar No. 24067322
                                            D. BRADLEY KIZZIA
                                            State Bar No. 11547550
                                            KIZZIA JOHNSON, PLLC
                                            1910 Pacific Ave., Suite 13000
                                            Dallas, Texas 75201
                                            (214) 451-0164
                                            Fax: (214) 451-0165
                                            jay@kpllc.com
                                            bkizzia@kpllc.com

                                            ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
November 22, 2021 and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                         /s/Jay Johnson
                                         JAY JOHNSON




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